        Case 3:13-cv-01449-MPS Document 19 Filed 03/04/14 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                           :
Wendy Fenn,                                :
                                           :
                    Plaintiff,             :
      v.                                   :
                                             Civil Action No.: 3:13-cv-01449-MPS
                                           :
Convergent Outsourcing, Inc.; and          :
DOES 1-10, inclusive,                      :
                                           :
                                           :
                    Defendants.            :

                                 NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The Plaintiff anticipates filing a notice of withdrawal

of Complaint and voluntary dismissal of this action with prejudice pursuant to

FED. R. CIV. P. 41(a) within 60 days.


Dated March 4, 2014

                                           Respectfully submitted,

                                           PLAINTIFF, Wendy Fenn

                                           /s/ Sergei Lemberg

                                           Sergei Lemberg, Esq.
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       Case 3:13-cv-01449-MPS Document 19 Filed 03/04/14 Page 2 of 2



                           CERTIFICATE OF SERVICE

      I hereby certify that on March 4, 2014, a true and correct copy of the
foregoing Notice of Settlement was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                     By_/s/ Sergei Lemberg_________

                                            Sergei Lemberg
